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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF DELAWARE

JOHN PAUL MAC ISAAC,              :
                                  :
          Plaintiff,              :     Case No. 1:23-cv-247 (MN)
                            :
    v.                       :
                             :
CABLE NEWS NETWORK, et. al., :
                             :
        Defendants.          :



  REPLY MEMORANDUM IN SUPPORT OF PLAINTIFF JOHN PAUL
    MAC ISAAC’S MOTION FOR RELIEF FROM A JUDGMENT
            OR ORDER PURSUANT TO RULE 60(b)
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   I.       Preliminary Statement

         Plaintiff’s counsel admittedly missed the response deadline pursuant to Del.

R. LR 7.1.2(b), incorrectly believing the deadline to be 30 days after the United

States Department of Justice (“DOJ”) filed its motion to substitute and dismiss on

behalf of Defendant, Adam Bennett Schiff (“Schiff”), on March 7, 2023. Despite

incorrectly believing the response deadline was April 6, 2023, Plaintiff was

prepared to file its opposition to the DOJ’s filings “early,” on March 24, 2023. In

reality, the filing deadline was three days prior, on March 21, 2023.

         To the dismay of the Plaintiff, this Honorable Court granted the DOJ’s

motion to dismiss, thereby removing Schiff from the Plaintiff’s case. In response,

on that same day, Plaintiff filed its Motion for Relief from Judgment or Order

Pursuant to Rule 60(b), which attached is opposition to the DOJ’s motion to

dismiss as Exhibit A (“Plaintiff’s Motion”).

         Plaintiff’s counsel understands that it was mistaken in its calculation of the

deadline to file its opposition but respectfully request that this Honorable Court

grant the Plaintiff’s Motion and allow the parties to argue the merits of the motion

to dismiss.

   II.      The Court Should Grant Plaintiff’s Motion for Relief

         The DOJ, in its opposition to the Plaintiff’s Motion, correctly cites the

relevant analysis based on the four Pioneer factors for a Court’s determination of a


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motion brought pursuant to Rule 60. See Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. P’ship, 507 U.S. 380 (1993). However, the DOJ is incorrect with its

application of the analysis.

             A. Danger of Prejudice to Schiff

      Granting the Plaintiff’s motion will not have a prejudicial effect on the

Defendant. In fact, not granting the motion and evaluating the arguments of both

Plaintiff and Defendant may be more prejudicial to the Defendant. The Department

of Justice sought fit to certify this matter under the auspices of the Westfall Act.

The Plaintiff has opposed the DOJ’s certification and has stated its reasoning

therefore.

      Granting the Plaintiff’s motion would allow the DOJ and the Plaintiff to

argue the merits of their differing stances regarding certification. This allowance

will give the DOJ the opportunity to explain why such a determination was made.

Absent this opportunity, the Court of public opinion will likely rule harshly against

Congressman Schiff, who admitted to communicating false information to the

public.

      While the certification by the DOJ under the Westfall Act is prima facie

evidence that the conduct occurred within the scope of employment, it is subject to

being proved otherwise. Plaintiff has provided significant factual details in the

Amended Complaint from which this Court can determine whether the DOJ’s


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certification was correct. Challenges to the DOJ’s certification “must be resolved

before trial, as soon after the motion for substitution as practicable, even if an

evidentiary hearing is needed to resolve relevant fact disputes.” Brown v.

Armstrong, 949 F.2d 1007, 1012 (8th Cir. 1991).

       Therefore, if the factual allegations in the Amended Complaint are

insufficient to prove that the DOJ’s certification is misplaced, an evidentiary

hearing can be used to resolve the relevant factual disputes.

       As there is no real prejudice to Schiff, this factor tips in favor of the Plaintiff.

             B. Length of Delay

       As was outlined in the Plaintiff’s Motion, Plaintiff’s counsel had been

working on and planned to file its opposition to the United State’s motion to

dismiss on the day of the Court’s order dismissing the case. The brief had been

prepared and was in its final review to be filed well in advance of what Plaintiff’s

counsel mistakenly believed to be a 30-day response deadline.

       Unfortunately, Plaintiff’s counsel concedes that they were wrong but that,

ultimately, the delay was only three days, not an unreasonably long time after the

deadline. As conceded by the DOJ, this second factor weighs heavily in favor of

Plaintiff.




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             C. Reason for Delay

       Plaintiff’s counsel do not attempt to argue that there was any reason for the

delay other than a mistake of the deadline. It certainly was in the reasonable control

of counsel yet a mistake was made. Plaintiff concedes that this factor weighs in

favor of DOJ.

             D. Good Faith

       Plaintiff disagrees with DOJ’s “analysis” that Plaintiff’s counsel is not acting

in good faith. DOJ’s only argument is that the DOJ acted in good faith by notifying

the Plaintiff of its filing and then expands on that argument by attempting to apply

the doctrine of laches to the Plaintiff’s three day late filing.

       Plaintiff does not argue that the DOJ notified Plaintiff’s counsel of the filing

and the DOJ’s happiness to discuss a briefing schedule. However, Plaintiff asserts

that it has been acting in good faith throughout the entirety of this matter, was

actively engaged in the process with the parties, and has no prior history of dilatory

filings.

       Plaintiff also disputes the DOJ’s use of laches as a reason to deny Plaintiff’s

motion. The law on laches is rooted in the equitable principle that courts will not

assist one who has “slept on his rights.” Crown Packaging Tech., Inc. v. Rexam

Bev. Can Co., 679 F. Supp. 2d 512, 519 (D. Del. 2010). For DOJ to establish a

laches defense, DOJ must prove: 1) an unreasonable and inexcusable delay by the


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Plaintiff when the plaintiff knew or reasonably should have known of the filing

deadline; and 2) material prejudice to the Schiff resulting from the delay See Id. at

519-20. Material prejudice may be defined as either evidentiary prejudice or

economic prejudice. Id. Evidentiary prejudice arises when the infringer cannot put

on a fair defense because of the loss of records, death of witnesses, or the dimming

of memories. Id. Economic prejudice arises when an infringer suffers the loss of

monetary investments or incurs damages that would likely have been prevented by

an earlier suit. Id.

       In this case, there is no evidentiary prejudice suffered by Schiff as the delay

was solely three days and there was not adequate time for the loss of records, death

of witnesses, or the dimming of memories. There is also no economic prejudice to

Schiff in Plaintiff’s mistaken actions as he suffered no economic damages as a

result of the three-day delay.

       Based on this analysis, the fourth factor weighs in favor of Plaintiff.

   III.   Conclusion

       For the foregoing reasons, Plaintiff respectfully requests that this Honorable

Court grant his motion for relief and order the DOJ to file a Reply Brief within 7

days from the date the Court grants the motion.




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                      Respectfully submitted,

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